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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT 0F GEORGIA
AUGUSTA DIVISION

CLERK’S MINUTES - GENERAL

 

 

 

 

 

 

CASE NO. CR117-034 DATE June 20, 2018
USA V. REALITY LEIGH WINNER
TITLE
TIMES 11:41 am - 11:49 am TOTAL 18 min.
________-_-____-_____=_______-____________
Honorable : Brian K. Epps, United States Magistrate Judge Courtroom Deputy : Lisa Widener
Court R.eporter : FTR lnterpreter :
Attomey for Government Attorney for Defendant(s) Attomey for
Julie Edelstein Joe D. Whitley
Jolm C. Bcll, Jr.
Jennifer Solari Thomas H. Barnard
PROCEEDIN GS = TELEPHONE coNFERENCE 111 CO“"

|:| ln Chambers

Status Cnnference held.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Rcv 7/2003) GENERAL CLERK’S MINUTES

